
PER CURIAM.
Defendant Abe Percy was charged by bill of information with armed robbery and aggravated burglary arising out of an incident which occurred on September 16, 1977 at a Pizza Hut Restaurant in Baton Rouge, Louisiana. Upon trial by jury he was found not guilty of armed robbery and guilty of aggravated burglary. Thereafter he was sentenced to twenty years at hard labor for commission of the aggravated burglary.
In connection with this appeal defendant filed ten assignments of error. Eight of them have been argued in brief and orally, in five arguments. None of the assignments are meritorious.
Accordingly defendant’s conviction and sentence are affirmed.
AFFIRMED.
